Case 1:14-cv-01611-LO-JFA Document 954 Filed 07/25/18 Page 1 of 3 PageID# 25272



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

  BMG RIGHTS MANAGEMENT (US) LLC,
  et al.,
                Plaintiffs,
                                                   Civil No. 1:14-cv-1611 (LO/JFA)
                 v.

  COX COMMUNICATIONS, INC, et al.,

                        Defendants.


 DEFENDANTS’ MOTION IN LIMINE TO PRECLUDE EVIDENCE AND TESTIMONY
      CONCERNING PLAINTIFF’S VICARIOUS INFRINGEMENT CLAIM


        Defendants respectfully move this Court to preclude evidence and testimony concerning

 Plaintiff’s vicarious infringement claim. Defendants state the specific grounds for their motion in

 their accompanying Memorandum of Law in Support of Defendants’ Motion in Limine to Preclude

 Evidence and Testimony Concerning Plaintiff’s Vicarious Infringement Claim.



 Dated: July 25, 2018                                  Respectfully submitted,

                                                       /s/ Thomas M. Buchanan
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                                                 -1-
Case 1:14-cv-01611-LO-JFA Document 954 Filed 07/25/18 Page 2 of 3 PageID# 25273



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                                         -2-
Case 1:14-cv-01611-LO-JFA Document 954 Filed 07/25/18 Page 3 of 3 PageID# 25274



                                CERTIFICATE OF SERVICE

        I certify that on July 25, 2018, a copy of the foregoing DEFENDANTS’ MOTION IN

 LIMINE TO PRECLUDE EVIDENCE AND TESTIMONY CONCERNING PLAINTIFF’S

 VICARIOUS INFRINGEMENT CLAIM was filed electronically with the Clerk of Court using

 the ECF system which will send notifications to ECF participants.



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                                               -3-
